Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 1 of 26 Page ID #:5059



      Rob Bonta
 1    Attorney General of California
      Sarah E. Morrison, SBN 143459
 2    Supervising Deputy Attorney General
      David Zaft, SBN 237365
 3    Deputy Attorney General
      300 South Spring Street Suite 1702
 4    Los Angeles, CA 90013
      Phone: (213) 269-6372
 5    Fax: (213) 897-2802
      David.Zaft@doj.ca.gov
 6
      Attorneys for Plaintiffs
 7    Cal. Dept. of Toxic Substances Control
      and the Toxic Substances Control Account
 8
      Gary J. Smith
 9    Bina R. Reddy (pro hac vice)
      Eric L. Klein (pro hac vice)
10    BEVERIDGE & DIAMOND, P.C.
      456 Montgomery Street, Suite 1800
11    San Francisco, CA 94104-1251
      Telephone: (415) 262-4000
12    Facsimile: (415) 262-4040
      gsmith@bdlaw.com
13
      Attorneys for Defendant Clarios, LLC
14
      Additional counsel listed on signature
15    page
16
                         IN THE UNITED STATES DISTRICT COURT
17                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
18

19    CALIFORNIA DEPARTMENT OF TOXIC                         Case No. 2:20-cv-11293-SVW-JPR
      SUBSTANCES CONTROL et al.,
20                                                           JOINT REPORT ON CASE
                     Plaintiffs and                          MANAGEMENT PROPOSALS
21                   Counterdefendants,
                                                             Courtroom:      10A
22            vs.                                            Judge:          Hon. Stephen V. Wilson
                                                             Trial Date:     TBD
23    NL INDUSTRIES, INC., et al.                            Action Filed:   December 14, 2020
24                   Defendants and
                     Counterclaimants.
25
       AND RELATED THIRD-PARTY CLAIMS
26

27

28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR               1
Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 2 of 26 Page ID #:5060




 1
                                            INTRODUCTION
            On September 24, 2021, the Court ordered certain parties to submit within thirty
 2
     (30) days a case management plan that effectively and efficiently manages this case. ECF
 3
     Nos. 139, 175.1 Upon representation of these parties that their negotiations were
 4
     proceeding productively, on October 26, 2021, the Court extended the deadline for
 5
     submission to November 8, 2021. ECF No. 216. Plaintiffs State of California
 6
     Department of Toxic Substances Control and the Toxic Substances Control Account
 7
     (collectively, “DTSC” or “Plaintiffs”), and Defendants Clarios, LLC, Quemetco, Inc.,
 8
     International Metals Ekco, Ltd., Gould Electronics Inc., Kinsbursky Bros. Supply, Inc.,
 9
     Trojan Battery Company, LLC, Ramcar Batteries Inc., Oregon Tool, Inc., and NL
10
     Industries, Inc. (collectively, “Defendants”) (together with Plaintiffs, “Reporting Parties”)
11
     now respectfully submit this Joint Report on Case Management Proposals.
12
            The Reporting Parties, through their counsel of record, engaged in extensive
13
     negotiations to attempt to narrow their differences regarding case management. They
14
     exchanged written proposals for phasing the case, and met and conferred repeatedly by
15
     telephone and email. Plaintiffs circulated a detailed phasing proposal by letter to defense
16
     counsel on September 24, and Defendants subsequently provided their proposal to
17
     Plaintiffs by letter on October 19. All counsel conferred by telephone on October 22 and
18
     29, and conversations between Plaintiffs’ counsel and individual defense counsel took
19
     place on October 5 and November 3 and 5. Additionally, all joint defense counsel
20
     conferred with each other by telephone on September 29 and October 8, 18, and 27, and
21
     individual defense counsel conferred repeatedly one-on-one by phone. Numerous emails
22

23
     1
24         The Reporting Parties submitting this Proposed Case Management Plan interpret
     “the parties” as used in the Court’s Order on the Joint Motion to Stay Third-Party
25   Deadlines [ECF No. 175] to refer to Plaintiffs and the defendants named in the Plaintiffs’
26   Complaint [ECF No. 1], but not the third-party defendants named in the Third Party
     Complaint filed by NL Industries, Inc. (“NL”). NL respectfully submits that any party
27   named by NL that wishes to participate in the case management process should be
28   allowed to do so, and should not be excluded.
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR            2
Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 3 of 26 Page ID #:5061




 1   were exchanged between counsel throughout the period. Through these efforts, the
 2   Reporting Parties were able to narrow some of the issues, but they were not ultimately
 3   able to agree on a complete joint proposal for the Court, and accordingly submit separate
 4   proposals below. The Reporting Parties request that the Court schedule a hearing to
 5   assist in its consideration of these proposals.
 6                              JOINT STATEMENT OF THE CASE
 7          Plaintiffs have brought claims pursuant to Comprehensive Environmental
 8   Response Compensation and Liability Act (“CERCLA”) §§107 and 113(g)(2), 42 U.S.C.
 9   §§ 9607 and 9613(g)(2), and California’s Hazardous Substances Account Act (“HSAA”),
10   California Health and Safety Code §§25360–61, alleging that Defendants are jointly and
11   severally liable for past and future response costs Plaintiffs allegedly incurred and will
12   incur in connection with alleged releases of hazardous substances from a secondary lead
13   smelter located in Vernon, California (the “Vernon Plant”). Plaintiffs also request
14   injunctive relief pursuant to the HSAA, California Health and Safety Code §25358.3,
15   against Defendants and bring a claim for public nuisance against Defendant NL.
16          Defendants deny liability for Plaintiffs’ claims. Defendants have also asserted
17   counterclaims against Plaintiffs seeking contribution under CERCLA §113(f), 42 U.S.C.
18   §9613(f), a declaratory judgment under CERCLA §113(g), 42 U.S.C. §9613(g), and
19   contribution/indemnity under the HSAA, California Health and Safety Code §25300. In
20   addition, NL asserts counterclaims for equitable indemnity and negligence per se against
21   Plaintiffs. Plaintiffs have moved to dismiss these counterclaims, see ECF No. 211, and
22   deny liability for all counterclaims asserted against them.
23          NL has brought a Third-Party Complaint for claims pursuant to CERCLA §§113(f)
24   and 113(g)(2), 42 U.S.C. §§9613 (f) and 9613(g)(2), California Health and Safety Code
25   §25300, and equitable indemnity, alleging that approximately sixty-four (64) third parties
26   (“Third-Party Defendants”) caused or contributed to the contamination at the properties
27   surrounding the Vernon Plant. ECF No. 122. Many of these third parties have responded
28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR             3
Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 4 of 26 Page ID #:5062




 1   to NL’s Third-Party Complaint, but not all. The Court stayed all third-party deadlines on
 2   September 24, 2021. See ECF No. 175.
 3                              CASE MANAGEMENT PROPOSALS
 4   I.     PLAINTIFFS’ CASE MANAGEMENT PROPOSAL
 5
            A.     Introduction
 6
            Contrary to Defendants’ position, complex CERCLA cost recovery cases often
 7
     involve significant offsite contamination covering a large geographic area that has not
 8
     been fully delineated at the time the action is filed. This is how CERCLA was intended to
 9
     operate: It allows the government to file a cost recovery case and seek a determination
10
     regarding liability before its investigation and cleanup are complete. Although the scope
11
     of Plaintiffs’ response actions relating to the Vernon Plant have been substantial, as are
12
     the response costs Plaintiffs seek here, this simply reflects the massive contamination that
13
     still remains in place in the nearby communities, the toxic legacy of ninety years of the
14
     Vernon Plant’s lead smelting operations.
15
            Plaintiffs’ case management proposal effectively and realistically addresses the
16
     complexity of this case by separating it into three distinct phases: (1) liability on
17
     Plaintiffs’ cost recovery and declaratory relief claims under CERCLA and HSAA; (2)
18
     Plaintiffs’ total recoverable costs; and (3) the allocation of liability among the
19
     Defendants, any third-party defendants, and Plaintiffs. As explained below, Plaintiffs’
20
     phasing proposal follows the approach suggested in the Federal Judicial Center’s Manual
21
     for Complex Litigation (4th ed. 2004) (“Manual”) and routinely utilized by numerous
22
     courts in managing complex CERCLA cost recovery cases. It also reflects CERCLA’s
23
     structure and logic by allowing the government to pursue its cost recovery claims, and
24
     Defendants to mount their defenses to liability, before turning to more complex questions
25
     of allocation of liability among responsible parties (including any third parties).
26
            Defendants propose three deviations from this well-accepted structure. First, they
27
     propose front-loading a stand-alone proceeding to determine the scope and extent of the
28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR               4
Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 5 of 26 Page ID #:5063




 1   Vernon Plant’s releases. Defendants posit that such a determination, by itself, would
 2   facilitate settlement discussions that could lead to an early resolution of the case. But this
 3   is not the case. Although such a determination certainly would have a substantial impact
 4   on scope of the case, without a determination of the other critical Phase 1 issues—
 5   including Defendants’ liability on Plaintiffs’ CERCLA and HSAA claims, and resolution
 6   of any complete defenses to liability such as the recycling exemption under the 1999
 7   Superfund Recycling Equity Act)—the parties will not actually be in a solid position to
 8   discuss settlement. Accordingly, Plaintiffs are willing to include such a determination as
 9   part of Phase 1, but believe that this issue must be concurrently litigated with the other
10   Phase 1 issues. Plaintiffs submit that the Court’s determination of all of these issues
11   together on the 22-month timeline proposed by Plaintiffs would go a long way toward
12   posturing this case for settlement.
13          In direct tension with Defendants’ apparent goal of facilitating settlement
14   discussions, Defendants then propose that Phase 1 also include a four-month period for
15   impleading third party defendants, and that all of the parties’ liability be fully litigated in
16   Phase 1. The addition of dozens—or hundreds or even thousands—of third-party
17   defendants likely would make productive settlement discussions less, not more, likely.
18   Realistically, it also would substantially lengthen the timeframe for Phase 1 from the 22
19   months proposed by Plaintiffs to three or more years, given the additional discovery,
20   depositions, and pre-trial work that would be required by the addition of so many parties.
21   Defendants’ proposal also flouts CERCLA’s objectives, which was designed to allow the
22   government to quickly seek liability determinations against defendants, and then allow
23   those defendants that are found liable to seek contribution from each other and third
24   parties. The Court should reject this proposal.
25          Finally, Defendants propose that divisibility should be resolved in Phase 1. But the
26   result of such a determination goes to the share of response costs for which a party is
27   liable, and that determination fits more squarely into Phase 3, where other types of
28   allocation and apportionment will be addressed. However, Plaintiffs are willing to
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR               5
Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 6 of 26 Page ID #:5064




 1   consider proposals or ideas from Defendants that lay out the specific argument and
 2   factual grounds for any divisibility defense, and address the timing of this defense with
 3   the Court in further briefing and/or at a hearing.
 4          B.     Plaintiffs’ proposed case management plan applies a widely-used
 5                 approach that would promote efficiency and judicial economy
 6          Rule 42(b) of the Federal Rules of Civil Procedure (“Rule 42(b)”) authorizes the
 7   Court to separate trial based on separate issues, claims, cross claims, counterclaims, or
 8   third-party claims. Rule 42(b) vests the Court with broad discretion to take such action
 9   for convenience, to avoid prejudice, to expedite the resolution of a case, or promote
10   judicial economy. Courts routinely utilize this authority to separate CERCLA cost
11   recovery cases into distinct phases, with each phase addressing a different set of claims or
12   issues. See Manual § 34.12 (“Generally, CERCLA litigation will comprise three
13   interrelated phases, each of which have case-management implications: (1) liability; (2)
14   determination of remedy and recoverable costs, including challenges to response actions
15   for which costs were incurred; and (3) equitable allocation of response costs among
16   defendants.”), § 34.21 (“consider whether the case should be bifurcated or trifurcated into
17   two or more phases, such as liability, amount, and recoverability of response costs and
18   allocation”). Such phasing provides an “efficient approach[] to these cases by narrowing
19   the issues at each phase, by avoiding remedial questions if no liability attaches, and by
20   potentially hastening . . . settlement discussions once liability is determined.” Amoco Oil
21   Co. v. Borden, Inc., 889 F.2d 664, 667–68 (5th Cir. 1989); accord United States v. Alcan
22   Aluminum Corp., 990 F.2d 711, 720 (2d Cir. 1993) (bifurcation is a “powerful legal
23   tool[], which, by effectively isolating the issues to be resolved, avoid[s] lengthy and
24   perhaps needless litigation”); Textron Inc. v. Barber-Colman Co., 903 F. Supp. 1570,
25   1582 (W.D.N.C. 1995) (“CERCLA actions . . . are typically bifurcated by reason of their
26   complexity.”).
27

28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR            6
Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 7 of 26 Page ID #:5065




 1          A phased approach here would allow this case to proceed in an orderly,
 2   streamlined manner that would allow the parties to focus on distinct issues in each phase.
 3   Courts routinely prioritize the determination of defendants’ liability on the plaintiff’s
 4   CERCLA § 107 cost recovery claims in the first phase, and defer the determination of the
 5   total amount of recoverable costs, allocation, and contribution to one or more later
 6   phases. See Alcan Aluminum, 990 F.2d at 720 (noting, in complex CERCLA cases that
 7   “[l]iability may be decided first before the more complicated questions implicated in
 8   clean-up measures, which includes fixing the proportionate fault of liable parties.”).2
 9          Plaintiffs propose that the Court adopt this approach here and resolve Defendants’
10   liability first before it decides potentially complicated issues involving the liability of
11   third-party defendants for contribution to Defendants under CERCLA § 113, 42 U.S.C. §
12   9613, and the proportionate fault of the liable parties. Determining which Defendants are
13   liable before adjudicating DTSC’s response costs and the highly complex issues involved
14   in resolving contribution and third-party claims will serve several purposes.
15          First, consistent with CERCLA’s structure, this approach will allow Plaintiffs’ cost
16   recovery claims to be tried first such that a finding of no liability in the first phase would
17   result in fewer parties in the second phase. Amoco Oil, 889 F.2d at 667–68.
18          Second, it will reduce the burden on the Court’s time whereby resolution of
19   liability may obviate or limit protracted third-party litigation in the final phase.
20
     2
       See, e.g., State ex rel. Howes v. W.R. Peele, Sr. Trust, 876 F. Supp. 733, 737-38
21   (E.D.N.C. 1995) (bifurcating determination of liability from damages); State of N.Y. v. N.
22   Storonske Cooperage Co., Inc., 174 B.R. 366, 370, n. 4 (N.D.N.Y. 1994) (bifurcating
     liability from damages, resolution of cleanup measures, and allocation); United States v.
23   Western Processing Co., Inc., 734 F. Supp. 930, 931 (W.D. Wash. 1990) (bifurcating
24   liability from the amount of recoverable damages); Pinal Creek Group, 218 F.R.D. 656-
     58 (dividing discovery and motion practice into separate phases for liability and
25   damages/allocation); United States v. Wade, 653 F. Supp. 11, 14-15 (E.D. Pa. 1994)
26   (same); Tex Tin Settling Defendants Steering Comm. v. Great Lakes Carbon Corp., No.
     96-0247, 2008 WL 4376363, at *12 (S.D. Tex. Sept. 22, 2008) (bifurcating liability from
27   damages and equitable allocation); see also United States v. Davis, 882 F. Supp. 1217,
28   1219 (D.R.I. 1995) (trifurcating liability, costs, and contribution).
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR               7
Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 8 of 26 Page ID #:5066




 1          Third, it will streamline discovery, motion work, and other Phase 1 activity by
 2   limiting the initial set of issues to be litigated and deferring the appearance of several
 3   dozen, hundreds, or potentially thousands of third-party defendants to Phase 3. There is
 4   no basis for adding those parties early in the case, as Defendants propose. Litigating the
 5   relative liability of potentially thousands of parties and property owners all at once, as
 6   Defendants propose, is utterly unworkable on its face and would make this case more of a
 7   morass, not less. Further, such an approach is not necessary to facilitate settlement. It
 8   would actually hinder if not preclude settlement, because the determination of any
 9   Defendant’s liability would be delayed for years. Defendants’ position that the liability of
10   potentially thousands of PRPs could be prepared for trial and tried in as little as 10
11   months, following a three-to-four month interpleader period, is implausible. Based on the
12   11 months it has taken for the present set of 11 parties to get through most of—but not
13   even all of—the Rule 12(b)(6) stage, it is impossible that the liability of dozens-to-
14   thousands of additional parties could be determined within the unrealistic timeframe
15   proposed by Defendants. The Court should reject this proposal—inevitably Defendants’
16   unrealistic bid would require an expanded timeframe down the road as third parties who
17   are not present today request additional time to prepare for trial.
18          In contrast to Defendants’ proposal, Plaintiffs’ approach actually would promote
19   opportunities for settlement by resolving certain, critical issues early in the litigation that
20   will help Plaintiffs and Defendants better assess the strengths and weaknesses of their
21   claims and defenses to liability under CERCLA and HSAA. For this reason, Plaintiffs
22   also propose including the determination of Plaintiffs’ liability on Defendants’ CERCLA
23   and HSAA counterclaims in Phase 1. Also to promote settlement, Plaintiffs are willing to
24   accelerate into Phase 1 (but not at the beginning of Phase 1, as Defendants propose) the
25   issue of the relationship between the Vernon Plant’s releases and Plaintiffs response
26   costs—i.e., what Defendants are calling the geographic scope of the site. In short, once
27   the liability of the present parties and the scope of that liability is known, settlement
28   discussions (at least to some degree) would be ripe. Because CERCLA allows subsequent
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR                8
Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 9 of 26 Page ID #:5067




 1   contribution actions, the precise liability of each of potentially thousands of parties does
 2   not need to be known (contrary to Defendants’ position) for settlement at some level to
 3   occur.
 4            C.    Plaintiffs’ proposed case management plan
 5
              As explained above, given the scope and complexity of issues in the case and in
 6
     the interest of efficiency and economy, Plaintiffs propose that discovery, motion practice,
 7
     and trial should be phased. Given the nature of this case, the Manual (§§ 34.12, 34.21,
 8
     34.34) suggests separating complex CERCLA cases into the following phases: (1)
 9
     liability, (2) damages (i.e., the amount of recoverable response costs), and (3) allocation.
10
     This approach is consistent with CERCLA’s overall structure and allows for the logical
11
     sequencing of issues.
12
              Under Plaintiffs’ proposed case phasing, Phase 1 would be focused on determining
13
     who among the original parties are liable for Plaintiffs’ response costs and/or are subject
14
     to an order for abatement under the HSAA. Accordingly, Defendants’ liability under
15
     CERCLA § 107 and the HSAA (California Health & Safety Code §§ 25358.3, 25360)
16
     would be determined in Phase 1. Accordingly, any defense that completely3 absolves a
17
     party of liability (such as, for example, a statute of limitations defense or the application
18
     of the recycling exemption established by the 1999 Superfund Recycling Equity Act (42
19
     U.S.C. § 9627)) would be resolved in Phase 1. Defendants’ counterclaims against
20
     Plaintiffs under CERCLA § 113 and Health & Safety Code § 25360 would also be
21
     determined in Phase 1. However, all claims involving third parties would remain stayed
22
     and deferred to Phase 3, which is when third-party defendants named in NL’s third-party
23
     complaint who have not yet done so would be required to file responsive pleadings, and
24
     any new third-party complaints would be filed.
25

26
     3
      To the extent a defense is a partial defense, it is a defense to the allocation of damages
27   and would be resolved in Phase 3. Inconsistency with the National Contingency Plan
28   would be resolved in Phase 2.
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR              9
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 10 of 26 Page ID
                                      #:5068



 1            After considering Defendants’ proposal, Plaintiffs also will accept (under the
 2   schedule in Section 1.c below), but neither prefer nor propose, that Phase 1 include a
 3   determination of the scope and extent of the releases from the Vernon Plant, which would
 4   address Defendants’ concern that this determination precede third-party litigation. This
 5   determination would be litigated concurrently with the other issues to be resolved in
 6   Phase 1.
 7            Phase 2 would be focused on determining Plaintiffs’ total recoverable response
 8   costs (and Defendants’ affirmative defenses thereto, including their defenses alleging
 9   inconsistency with the National Contingency Plan).
10            Phase 3 would be focused on dividing up liability for the response costs, and would
11   include any remaining claims and issues. Thus, during Phase 3, Defendants that are found
12   liable in Phase 1 would have the opportunity to bring contribution claims against each
13   other and against third-party defendants (as NL has already done). Phase 3 would address
14   Defendants’ divisibility defenses and the equitable allocation of the recoverable response
15   costs among the liable parties, including third-party defendants. Further, NL’s public
16   nuisance liability would be adjudicated in Phase 3, because the adjudication of CERCLA
17   and HSAA liability in the prior phases may make it unnecessary to adjudicate this claim.
18            Discovery in each phase would be limited to the subjects of litigation for that
19   phase.
20            On any deadline to which Plaintiffs’ case management plan is silent, the Federal
21   Rules of Civil Procedure and the Local Rules for the Central District of California would
22   control.
23            Phase 1: CERCLA and HSAA Liability
24            Claims to be litigated
25            Plaintiffs propose resolving Defendants’ CERCLA and HSAA liability in the first
26   phase, as well as Plaintiffs’ liability for Defendants’ CERCLA and HSAA counterclaims.
27   This phase would include resolving any complete defenses to liability. Plaintiffs do not
28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR            10
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 11 of 26 Page ID
                                      #:5069



 1   propose separate sub-phases for findings on these claims. Instead, Plaintiffs propose that
 2   the following issues to be concurrently determined in Phase 1:
 3          (i)     Plaintiffs’ claims against Defendants for recovery of response costs pursuant
 4   to CERCLA and HSAA, including whether: the site is a “facility”, a “release” or
 5   “threatened release” of a hazardous substance has occurred, which requires the
 6   expenditure of response costs, and the defendant is a “covered person” subject to liability;
 7          (ii)    Plaintiffs’ claim against Defendants for declaratory relief under CERCLA;
 8          (iii)   Plaintiffs’ claim against Defendants for abatement of a release or threatened
 9   release pursuant to HSAA, which includes determining the existence of an imminent or
10   substantial endangerment to the public health or welfare or to the environment caused by
11   a release or threatened release pursuant to HSAA;
12          (iv)    Defendants’ counterclaims against DTSC for contribution and declaratory
13   judgment under CERCLA and the HSAA, including whether DTSC is a “covered
14   person” subject to liability; and
15          (v)     The forgoing list necessarily includes Plaintiffs’ and Defendants’ defenses to
16   CERCLA and HSAA liability that represent complete defenses to liability. 4
17          As noted above, Plaintiffs are willing to accelerate into Phase 1 (but not at the
18   beginning of Phase 1, as Defendants propose) the issue of the relationship between the
19   Vernon Plant’s releases and Plaintiffs’ response costs—i.e., what Defendants are calling
20   the geographic scope of the site. Plaintiffs acknowledge resolution of this issue is
21   important to facilitate settlement. However, resolution of this issue as the first item in the
22   case is unnecessary and inefficient. It would require two trials instead of one, and does
23

24
     4
       During this meet and confer process, Defendants never explained the grounds for any
25   divisibility defense they may present. Given this lack of transparency, Plaintiffs believe it
26   is appropriate to place divisibility in Phase 3. However, they are willing to meet and
     confer and reconsider this if Defendants will provide a specific factual basis for this
27   defense. Plaintiffs are also willing to submit additional briefing on this issue and/or
28   address it at a hearing.
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR              11
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 12 of 26 Page ID
                                      #:5070



 1   nothing to facilitate settlement because the issue of who is actually liable will not have
 2   been resolved yet.
 3          Discovery
 4          Discovery for Phase 1 would be limited to the above-listed Phase 1 issues.
 5   Plaintiffs propose that, after the Court issues an order regarding the phasing of this case,
 6   it schedule an Initial Scheduling Conference for sixty (60) days thereafter. Pursuant to
 7   Fed. R. Civ. P. 26, the parties will confer and develop a discovery plan at least twenty-
 8   one (21) days before the Initial Scheduling Conference and submit the written discovery
 9   plan to the Court within fourteen (14) days after the parties’ conference. The parties’
10   discovery plan will state the parties’ views and proposals on the topics enumerated in
11   Fed. R. Civ. P. 26(f)(3), including but not limited to the specific Phase 1 subjects on
12   which discovery may be needed, the schedule and completion timing for any such
13   discovery (within the time limits in Section 1.c. below), the production of electronically
14   stored information, and the procedure for asserting claims of privilege.
15          Summary of general deadlines
16          As set forth below, Plaintiffs propose scheduling the trial for Phase 1 twenty-two
17   months after the Initial Scheduling Conference. Plaintiffs’ proposed schedule is both
18   realistic and one that will ensure the parties are actively and diligently litigating the Phase
19   1 issues. The proposed schedule takes into account massive scope and complexity of this
20   case, including the number of parties; the size of the Administrative Record; the nearly
21   100-year history of the Vernon Plant; the voluminous number of potentially relevant
22   emails; the dozens of depositions that will be needed; and complex, highly technical
23   expert issues.
24          1.     Initial Disclosures: In accordance with Fed. R. Civ. P. 26, the Parties shall
25   make initial disclosures at or within fourteen (14) days after the conference of the parties,
26   which is required to take place at least twenty-one (21) days before the Initial Scheduling
27   Conference.
28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR             12
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 13 of 26 Page ID
                                      #:5071



 1          2.     Non-Expert Discovery Cut-Off and Scope: All non-expert discovery shall be
 2   completed within twelve (12) months after the Initial Scheduling Conference. All
 3   discovery not specifically related to the subjects to be litigated in Phase 1, as outlined
 4   above, shall be stayed until the later phases.
 5          3.     Expert Discovery Cut-Off: All expert discovery shall be completed by a date
 6   that is fifteen (15) months after the Initial Scheduling Conference.
 7          4.     Motions: All motions, other than discovery motions, shall be filed no later
 8   than ninety (90) days before the date trial commences. All motions must be noticed and
 9   in compliance with Federal Rules of Civil Procedure and the Local Rules. Plaintiffs
10   believe that many Phase 1 issues may be resolvable through motions for summary
11   judgment.
12          5.     Final Pre-trial Conference: Pursuant to Fed. R. Civ. P. 16, the final pre-trial
13   conference shall be held approximately one (1) week prior to commencing trial in Phase
14   1. Pursuant to Local Rule L.R. 16-2, the parties shall meet and confer at least forty (40)
15   days in advance of the final pre-trial conference on the topics outlined in L.R. 16-2.1
16   through L.R. 16-2.9, and meet and confer on the preparation of trial documents. No later
17   than twenty-one (21) days prior to the final pre-trial conference, the parties shall file and
18   serve the memorandum of contentions of fact and law, witness list, and joint exhibit list.
19   Pursuant to L.R. 16-10, at least seven (7) days before trial is scheduled to commence, the
20   parties must file and serve separate trial briefs.
21          6.     Motions in Limine: All motions in limine shall be filed and served fourteen
22   (14) days before the date the trial commences, unless this Court orders otherwise.
23   Oppositions to the motions in limine shall be filed and served nine (9) days before the
24   date the trial commences, unless this Court orders otherwise. The motions in limine shall
25   be heard at the final pre-trial conference, or no later than five (5) days before the date trial
26   commences.
27          7.     Trial Date: Trial shall commence approximately twenty-two (22) months
28   after the Initial Scheduling Conference.
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR              13
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 14 of 26 Page ID
                                      #:5072



 1          Phase 2: Recoverable Costs
 2          Claims to be litigated
 3          Plaintiffs propose that Phase 2 focus on the recoverable amount of Plaintiffs’ costs,
 4   and Defendants’ affirmative defenses relating to the recoverable amount of Plaintiff’s
 5   response costs against Defendants under CERCLA and the HSAA. Specifically, Phase 2
 6   will involve resolution of the following issues:
 7          (i)          Plaintiffs’ recoverable response costs relating to Plaintiffs’ claims against
 8   Defendants under CERCLA and HSAA; and
 9          (ii)         Defendants’ affirmative defenses to Plaintiffs’ recoverable costs relating to
10   Plaintiffs’ claims against Defendants under CERCLA and HSAA, including those related
11   to inconsistency with the National Contingency Plan.
12          Summary of general deadlines
13          Upon resolution of the issues in Phase 1, whether at trial, through summary
14   judgment, or settlement, the parties will present the Court with a proposed schedule for
15   discovery, motion practice, and trial for Phase 2.
16          Phase 3: Divisibility, Contribution, Third-Party Defendant liability, and
17          Common Law Claims
18          Claims to be litigated
19          Plaintiffs propose that Phase 3 address the following issues:
20                 (i)       Divisibility of the harm relating to Plaintiffs’ claims against Defendants
21                           under CERCLA;
22                 (ii)      Liability of Defendants and third-party defendants for contribution under
23                           CERCLA and HSAA. All third-party claims and third-party litigation
24                           would be stayed until Phase 3, including the filing of any new third-party
25                           complaints and the requirement that defendants named in NL’s third-
26                           party complaint file responsive pleadings;
27                 (iii)     Allocation and equitable apportionment of Plaintiffs’ response costs
28                           recoverable under CERCLA and the HSAA, as determined in Phase 2,
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR                  14
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 15 of 26 Page ID
                                      #:5073



 1                     among the parties determined to be liable in Phase 1 and Phase 3, as well
 2                     as any other allocation determinations relating to Plaintiffs’ other claims;
 3              (iv)   Plaintiffs’ public nuisance claim against NL Industries (which is a jury
 4                     claim); and
 5              (v)    NL’s equitable indemnity and negligence per se counterclaims against
 6                     Plaintiffs, if those counterclaims survive Plaintiffs’ motion to dismiss.
 7          Summary of general deadlines
 8          Upon resolution of the issues in Phase 2, whether at trial, through summary
 9   judgment, or settlement, the Parties will present to the Court a proposed schedule for
10   third-party litigation, discovery, motion practice, and trial for Phase 3.
11   II.    DEFENDANTS’ CASE MANAGEMENT PROPOSAL
12
            A. Introduction
13
            This case is like most CERCLA cases with one significant difference: In addition
14
     to seeking money to clean up an abandoned industrial site, the plaintiffs here also seek
15
     hundreds of millions of dollars for the cleanup of thousands of distant properties, all
16
     located more than a mile from the industrial site in question.5 That single element
17
     transforms this case from an expensive, but otherwise typical, environmental cleanup
18
     case to a potentially billion-dollar “battle of the experts” regarding the origins of lead
19
     found across nine square miles of greater Los Angeles, within which there are dozens of
20
     potentially related lead emitters, not to mention the confounding contributions of lead
21
     paint residues and leaded gasoline emissions.6
22

23   5
           See Complaint ¶¶ 49 (seeking to recover for “contamination extending at least 1.7
24   miles from the Vernon Plant:); see also id. ¶¶ 1, 2, 4 (alleging emissions impacted
     thousands of nearby residents and properties) and ¶¶ 6, 132 (DTSC’s defined “Site”
25
     includes the Vernon Plant and areas where hazardous substances from the Vernon Plant
26   have come to be located).
     6
27         Plaintiffs argue that “CERCLA cost recovery cases often involve significant offsite
     contamination covering a large geographic area that has not been fully delineated at the
28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR             15
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 16 of 26 Page ID
                                      #:5074



 1          The huge economic consequences of this dispute over the extent of Vernon Plant
 2   contamination mean that, so long as this issue remains disputed, Plaintiffs and
 3   Defendants will not find common ground for settlement discussions, and that the scope of
 4   this litigation – the number of parties and the breadth of relevant discovery – will
 5   consume immensely greater resources of both the parties and the Court than in the typical
 6   CERCLA case. Conversely, the Court’s early resolution of this key threshold issue under
 7   its Rule 42(b) authority could drastically simplify the remainder of the case and would
 8   significantly improve the near-term prospects for a settlement.
 9          Accordingly, as set forth in more detail below, the distinguishing feature of
10   Defendants’ case management proposal is a Rule 42(b) “mini-trial” in the first year of the
11   schedule – ideally around eight months – that would resolve this central uncertainty in
12   this case and put the case on track for efficient resolution and potential settlement.
13   Specifically, the Court should open this case by determining the geographic scope of the
14   site at issue: Is it a circle with a 1.7-mile radius, as Plaintiffs contend, or was the Vernon
15   Plant’s environmental impact in a much smaller area, as at least one prior study has
16   suggested? The answer to this question, regardless of how the Court rules, will put this
17   case on the same footing as most other CERCLA cases, in which the general scope of the
18   site and the associated potential liability are commonly understood by all sides, and
19   litigation can efficiently focus on the basic CERCLA questions of which parties must pay
20   and how much.
21

22

23   time the action is filed.” See supra. But there are few, if any, examples of a case like this
24   one, where the basic dispute over the definition of the site encompasses thousands of
     urban properties over many square miles in the heart of a major city, amounting to
25   hundreds of millions of dollars in alleged response costs. Defendants are aware of no
26   other such site. This unique dispute is why an early site definition makes sense in this
     case. Moreover, Plaintiffs have been investigating this site for years, and first alleged
27   their 1.7-mile site definition more than five years ago, so there is no cause for delay in the
28   fact that Plaintiffs claim the site is not yet “fully delineated.”
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR              16
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 17 of 26 Page ID
                                      #:5075



 1          Under Plaintiffs’ proposal, however, this threshold determination would not be
 2   made until well into 2023 at the earliest, and in the meantime, many unnecessary third-
 3   party defendants may be impleaded and settlement discussions cannot even begin. There
 4   is no reason for site definition to wait that long. The Court should define the site first.
 5          B.     Structure
 6
            The primary element of Defendants’ proposed case management structure is the
 7
     Rule 42(b) “mini-trial” on the geographic scope of the site discussed above. Defendants
 8
     contend that the definition of the site is so central to this case, and has so much potential
 9
     to alter the scope of the litigation, that the Court should start now by setting an eight-
10
     month schedule to adjudicate the scope of the site, and should defer setting a broader case
11
     schedule until after that adjudication is complete and the scope of Plaintiffs’ claim has
12
     been defined. For instance, trifurcation of the case, as Plaintiffs seek, may be appropriate
13
     at that time, or it may not, depending on the definition of the site.
14
            If, however, the Court wishes to establish a broader case schedule now, Defendants
15
     would also propose one or both of the following additional elements. First, following
16
     that “mini-trial” at approximately eight months into the schedule, the Court should
17
     establish a brief period, not to exceed four months, for impleading all third parties, so that
18
     all necessary parties are gathered in orderly fashion, and the remainder of the case occurs
19
     once, not twice (i.e., first with original defendants, later with late-added third-party
20
     defendants). Second, if the Court concludes at this time that some form of bifurcation or
21
     trifurcation is appropriate, the initial “liability phase,” (analogous to Plaintiffs’ “Phase
22
     1”) should establish the liability of all parties, including third parties and DTSC itself, as
23
     well as CERCLA defenses to joint and several liability (including divisibility of harm,
24
     “federally permitted release,” and the CERCLA exemption for battery recycling).
25
            Defendants believe all three of these elements – site definition, third-party
26
     impleader, and a “liability phase” – can be accomplished in two years, i.e., much faster
27
     than Plaintiffs suggest.
28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR              17
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 18 of 26 Page ID
                                      #:5076



 1          (1) Primary proposal: The Court should conduct an initial, focused,
 2   standalone trial under Rule 42(b) approximately eight months after the entry of a
 3   case management order. The question for resolution by the Court in this initial trial
 4   would be the geographic definition of the compensable cleanup area in the case – the area
 5   within which Plaintiffs are entitled under CERCLA and HSAA to seek recovery of their
 6   response costs. As a practical matter, this means the Court will determine the extent to
 7   which Plaintiffs may legally seek response costs for properties other than the Vernon
 8   Plant. Because this question will require complex and contested expert testimony, eight
 9   months are necessary for the parties to conduct the required expert discovery and prepare
10   for the initial standalone trial. The overall case schedule, including general discovery
11   involving DTSC and Defendants, will not be limited during this period, and the case will
12   otherwise proceed normally. See, e.g., Manual for Complex Litigation, § 11.632.7 See
13   also id., § 34.26 (“Narrowing the Issues” in CERCLA litigation).
14          If the Court sets a Rule 42(b) trial approximately eight months after the entry of a
15   case management order, Defendants propose that the Court enter an associated fact
16   discovery cutoff date at approximately three months after the entry of such order, phased
17   expert disclosures over the following three months,, and dates for a pretrial conference
18   and associated motions in limine at an appropriate pretrial interval.
19          Defendants believe it is premature for the Court to decide whether Plaintiffs’
20   proposed multi-step “trifurcation” will make sense for the remainder of the case until the
21   Court has determined the scope of the compensable cleanup area. That determination
22   could dramatically narrow the issues and thus have a significant impact on the scope and
23   trajectory of the remainder of the case. Following this critical threshold determination,
24

25   7
             “Whether the litigation involves a single case or many cases, severance of certain
26   issues for separate trial under Federal Rule of Civil Procedure 42(b) can reduce the length
     of trial, particularly if the severed issue is dispositive of the case, and can also improve
27   comprehension of the issues and evidence. Severance may permit trial of an issue early in
28   the litigation, which can affect settlement negotiations as well as the scope of discovery.”
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR           18
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 19 of 26 Page ID
                                      #:5077



 1   the Court will then have a basis to determine whether to resolve the claims by and against
 2   all parties in a single proceeding or series of proceedings. However, to the extent the
 3   Court elects to reach this question at this time, Defendants make the following proposals
 4   with respect to such subsequent proceedings.
 5          (2) Additional potential proposal: Brief third-party impleader period. If
 6   reasonable in light of the outcome of the Court’s determination of the compensable
 7   cleanup area, the Court should then consider lifting the current stay on third-party
 8   deadlines and setting a deadline of 3-4 months for the identification and impleader of all
 9   potentially responsible parties (“PRPs”) with potential liability within the compensable
10   cleanup area as defined by the Court. See, e.g. Manual for Complex Litigation, § 34.27.8
11   In particular, the determination of the compensable cleanup area may so substantially
12   reduce the number of owner/operator third-party defendants that adding them to the case
13   in advance of any liability determinations may be far more manageable for the Court than
14   delaying third-party practice until a later date, at which point a duplicative liability phase
15   for third-party defendants would be necessary. In that circumstance, it is likely that most
16   third-party defendants would be other recycler customers of the Vernon Plant that are
17   similarly situated to the seven existing recycler defendants.
18          (3) Additional potential proposal: Liability phase including all parties and all
19   liability defenses.
20          If the Court elects to consider trifurcation at this time, Defendants believe that
21   Plaintiffs’ proposal has several serious flaws, including (1) its failure to resolve the
22   liability of all parties in a single proceeding, (2) its failure to account for divisibility
23   issues in the “liability” phase of the case, (3) its failure to provide a fair and efficient
24
     8
           “A reasonable but firm deadline, which might be as long as a year, is advisable for
25   adding parties or cross-claims, absent special issues in individual instances. Once the
26   deadline for joinder is reached, the parties and the court will have an overview of the size
     and scope of the litigation. At that point, pretrial, settlement, and trial plans can proceed,
27   addressing issues relating to all the parties, while consideration of late presented claims is
28   deferred.”
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR                19
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 20 of 26 Page ID
                                      #:5078



 1   process for impleading additional parties; and (4) its excessive length. At most, the Court
 2   should follow the “mini-trial” and impleader period described above with a modified,
 3   more efficient version of Plaintiffs’ proposed “Phase 1”: a “liability” phase consisting of
 4   a 10-12 month proceeding to determine the liability of all PRPs, including the
 5   determination of all defenses to joint and several liability, including the battery recycling
 6   exemption under the Superfund Recycling Equity Act, divisibility of harm,9 the
 7   “federally permitted release” defense under 42 U.S.C. § 9607(f), and potentially other
 8   threshold defenses. Such period should include reasonable interim deadlines for fact and
 9   expert discovery, as well as dispositive motions and pretrial motion practice.
10          If the Court adopts all three of the elements Defendants propose above, the result
11   would be to use the same amount of time Plaintiffs are proposing for their “Phase 1” –
12   approximately 22-24 months – to accomplish much more than Plaintiffs propose,
13   including the determination of the site at issue, the identification of third-party PRPs, and
14   a liability determination for all parties, not just a subset. Unlike the schedule Plaintiffs
15   are proposing, under Defendants’ three proposed elements, this case would be positioned
16   at the two-year mark for a relatively fast and efficient determination of remaining issues
17   among all parties (recoverable cleanup costs and equitable allocation), and the case
18

19   9
            In negotiations, Plaintiffs expressly refused to include the “divisibility of harm”
20   defense in their proposed “Phase 1,” in which Plaintiffs propose to establish Defendants’
21
     joint and several liability, insisting that such defenses could only be raised during “Phase
     3,” which addresses the legally distinct realm of equitable allocation. Plaintiffs’ proposed
22   exclusion of divisibility issues from the liability phase is legally unsupportable, because
23
     CERCLA and HSAA defendants are not subject to joint and several liability for
     demonstrably divisible impacts for which the resulting harm may be reasonably
24   apportioned. Burlington Northern and Santa Fe Ry Co. v. United States, 556 U.S. 599,
25
     616 n.9 (2009); see also, e.g., State of Arizona v. City of Tucson, 761 F.3d 1005, 1011
     (9th Cir. 2014). In contrast, the contribution claims to be litigated in “Phase 3” allocate
26   joint and several liability among liable parties according to equitable considerations.
27   Accordingly, under any phased approach, issues of divisibility are properly included as
     an inherent element of the threshold determination of whether a defendant is liable to
28   Plaintiffs.
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR             20
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 21 of 26 Page ID
                                      #:5079



 1   posture would allow potentially productive discussions among the parties regarding a
 2   resolution of the case.
 3          C.     Points and authorities in support of a threshold “mini-trial”
 4
            Defendants’ case management proposal is much more efficient than Plaintiffs’
 5
     proposal, and much more conducive to narrowing the scope of the dispute and promoting
 6
     earlier settlement opportunities.
 7

 8
                   1.     An early site determination encourages settlement efforts.

 9          The primary impediment to settlement discussions in this case is that the parties
10   have sharply divergent views regarding the extent of the compensable cleanup area.
11   Defendants contend that Plaintiffs are seeking to recover environmental response costs at
12   tens of thousands of properties that the Vernon Plant did not actually contaminate.
13   Plaintiffs’ proposed “site” (i.e., “facility” in CERCLA parlance) in this case encompasses
14   many thousands of residential properties that DTSC is planning to remediate, and these
15   properties are the overwhelming driver of the alleged environmental response costs,
16   which have already exceeded $100 million even at an early stage. But the Vernon Plant
17   is surrounded by a significant zone of industrial and commercial property, not residential
18   properties, such that if the compensable cleanup area is significantly smaller – because
19   the environmental impact of the Vernon Plant was more limited – many, and possibly
20   most, of the properties driving Plaintiffs’ alleged costs will be outside that area.
21

22

23

24

25

26

27

28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR              21
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 22 of 26 Page ID
                                      #:5080



 1            The image to the
 2   right, from DTSC’s online
 3   cleanup tracker, tells the
 4   story. The Vernon Plant is
 5   at the center, surrounded by
 6   a nonresidential zone, with
 7   residential areas (filled in
 8   where already subject to
 9   DTSC       outreach)      farther
10   away toward the periphery.
11   The site boundary as DTSC
12   draws      it   –   the    green
13   circumference – represents
14   CERCLA liability of many
15   hundreds of millions of dollars, but Defendants will prove that the compensable cleanup
16   area is far smaller, and thus that Plaintiffs’ recoverable cleanup costs are dramatically
17   lower.
18            This wide gap in the parties’ expectations for the outcome of the case is a
19   formidable obstacle to settlement discussions. Plaintiffs are proposing to start the case by
20   pushing just nine defendants to share potentially many hundreds of millions of dollars of
21   liability among them, a burden Defendants cannot reasonably accept and lock in by
22   settlement without first trying their own strongly-held theory of the proper compensable
23   cleanup area. But if the Court starts the case by determining the compensable cleanup
24   area – in the initial standalone trial that Defendants propose above – the Court (no matter
25   how it ruled) would eliminate that expectations gap at the outset and set the stage for
26   potentially productive settlement discussions. The parties would gain a shared
27   understanding of the legal scope of the actual site to be remediated, and expectations for
28   the outcome of the case would then stand a much better chance of coming into alignment.
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR              22
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 23 of 26 Page ID
                                      #:5081



 1
                   2.     An early site determination makes the case more efficient.

 2          First, Defendants envision a shorter litigation than do Plaintiffs. Plaintiffs are
 3   asking for the first of three phases of the case to last nearly two years, suggesting that the
 4   entire case may last five years or more. The case should not take that long.
 5          Second, it makes little sense to adjudicate the liability of parties while the nature of
 6   that liability is still sharply contested between Plaintiffs and Defendants. As set forth
 7   above, the proper first step is for the Court to determine the geographic nature of the site;
 8   then the parties can litigate which of them is liable for contaminating it.
 9          Third, an early determination of the scope of the compensable cleanup area will be
10   valuable to DTSC itself in allocating resources for cleanup, allowing public money to be
11   spent most efficiently.
12          Fourth, defining the site will determine which third-party property owners and
13   operators need to be impleaded before every owner/operator in a 1.7-mile radius is
14   reflexively impleaded, potentially saving tremendous time and resources for the Court
15   and the third parties themselves. Specifically, the smaller the compensable cleanup area,
16   the fewer third-party property owners or operators are geographically located within it,
17   and the fewer of those owner/operators will need to be impleaded. If Plaintiffs’ view of
18   site boundaries is correct, there will be a large number of owner/operator third parties
19   whose unique contributions to site contamination will need to be adjudicated as part of
20   this case. By contrast, if Defendants’ view of the site boundaries is correct, relatively few
21   owner/operator third-party defendants may be implicated in this case at all; most third-
22   party defendants will be Vernon Plant customers that will not add to the complexity of
23   the case because their defenses will be mostly identical to those of existing
24   arranger/transporter defendants. The definition of the site will therefore have a
25   significant impact on the complexity of this litigation, and so should occur first.
26          Moreover, a site determination in this case could be accomplished in eight months.
27   While Defendants have not yet had an opportunity to test and litigate Plaintiffs’
28   allegation that the site has a 1.7-mile radius, DTSC’s existing administrative record
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR             23
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 24 of 26 Page ID
                                      #:5082



 1   reveals that the extent of environmental impacts from the Vernon Plant was a hotly
 2   disputed issue over the course of many years of regulatory interaction between DTSC and
 3   Exide. In the course of defining the scope of Exide’s regulatory obligations, both parties
 4   necessarily devoted extensive resources to developing their positions on the question of
 5   how far, and to what extent, lead and other substances emitted by the Vernon Plant
 6   impacted properties outside the facility. It should therefore require relatively little
 7   additional time or effort for DTSC to explain and defend in this litigation the basis for its
 8   factual allegation that such substances require cleanup at locations 1.7 miles away from
 9   the Vernon Plant.
10          In sum, the Court can and should define the overall scope of the issues to be
11   litigated in this case via a focused initial trial under Rule 42(b), the outcome of which
12   would determine the extent of the area for which Plaintiffs may recover response costs
13   under CERCLA and HSAA. If it then makes sense after the Court has decided this key
14   threshold issue, the necessary parties should be impleaded in an orderly fashion, and
15   discovery, motions, and trials proceed (either in an integrated or trifurcated structure) on
16   a level playing field with clear deadlines applicable equally to all. Such a case
17   management order would shorten the case, regularize it, and give the parties their best
18   and earliest chance to find a negotiated resolution – the most efficient possible outcome
19   of the case by far.
20

21

22

23

24

25

26

27

28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR             24
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 25 of 26 Page ID
                                      #:5083



 1                                            CONCLUSION
 2          While the Reporting Parties did not reach agreement on a particular case
 3   management structure after extensive discussions, the Reporting Parties agree that the
 4   Court should use its authority under Rule 42(b) to organize the case in the most efficient
 5   and logical manner, and respectfully submit the preceding alternative proposals for the
 6   Court’s consideration.
 7

 8
      Dated: November 8, 2021

 9    Respectfully submitted:
10
      Rob Bonta                                          BEVERIDGE & DIAMOND, P.C.
11    Attorney General of California
      Sarah E. Morrison, SBN 143459                      By: /s/ Gary J. Smith
12
      Supervising Deputy Attorney General                Gary J. Smith
13                                                       Bina R. Reddy (pro hac vice)
      By: /s/ David Zaft                                 Eric L. Klein (pro hac vice)
14
      David Zaft
15    Deputy Attorney General                            Counsel for Defendant Clarios, LLC
16
      Attorneys for Plaintiffs
17    Cal. Dept. of Toxic Substances Control
18
      and the Toxic Substances Control Account

19

20
      BARNES AND THORNBURG LLP                           RAF LAW GROUP

21    By: /s/ David C. Allen                             By: /s/ Ruben A. Castellon
22
      David C. Allen                                     Ruben A. Castellon
                                                         Anna L. Le May
23    Counsel for Gould Electronics, Inc.
24
                                                         Counsel for International Metals Ekco,
                                                         Ltd.
25

26

27

28
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR             25
     Case 2:20-cv-11293-SVW-JPR Document 227 Filed 11/08/21 Page 26 of 26 Page ID
                                      #:5084



 1
      LAW OFFICES                                        GIBSON, DUNN & CRUTCHER LLP
      OF JAMES C. MACDONALD
 2                                                       By: /s/ Alexander P. Swanson
 3    By: /s/ James C. Macdonald                         Patrick W. Dennis
      James C. Macdonald                                 Alexander P. Swanson
 4                                                       Thomas F. Cochrane
 5    Attorneys for Ramcar Batteries, Inc.
                                                         Attorneys for Quemetco, Inc.
 6

 7

 8    FARELLA BRAUN + MARTEL LLP                         MURCHISON & CUMMING, LLP
 9
      By: /s/ Donald Sobelman                            By: /s/ Richard A. Dongell
10    Donald Sobelman                                    Richard A. Dongell
11    Linda Sobczynski                                   Eric P. Weiss
      John Ugai
12                                                       Attorneys for Kinsbursky
13    Attorneys for Oregon Tool, Inc.,                   Bros. Supply, Inc. dba KBI
      formerly known as Blount, Inc.
14

15
      SHEPPARD, MULLIN, RICHTER &                       LAW OFFICES OF JOEL L. HERZ
16    HAMPTON LLP
17                                                       By: /s/ Joel L. Herz
      By: /s/ Stephen J. O’Neil                          Joel L. Herz
18    Stephen J. O’Neil
19    Jeffrey J. Parker                                  Attorney for NL Industries, Inc.
20    Attorneys for Trojan
21    Battery Company, LLC
22                                   SIGNATURE ATTESTATION
23          Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, David Zaft, attest that all other
24   signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
25   content and have authorized the filing.
26

27   Dated: November 8, 2021                    /s/ David Zaft
28                                              David Zaft
     Joint Report on Case Management Proposals; Case No. 2:20-cv-11293-SVW-JPR              26
